    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 1 of 39 Page ID
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                           #:33223




                          Exhibit 16
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment



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                                                                                         Exhibit 1S
                                                         White Decl. ISO Disney's SJ Motion P.0338
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 2 of 39 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33224                           1

                        *** CONFIDENTIAL ***
    1          UNITED STATES DISTRICT COURT

    2         CENTRAL DISTRICT OF CALIFORNIA

    3

    4   T.P., by and through S.P.,         )

    5   as Next Friend, Parent and         )

    6   Natural Guardian; S.P.,            )

    7   Individually, et al.,              )

    8               Plaintiffs,            )

    9         vs.                          ) No. BC 581528

   10   WALT DISNEY PARKS AND              )

   11   RESORTS US, INC.,                  )

   12               Defendant.             )

   13

   14                 The ** CONFIDENTIAL ** videotaped

   15   deposition of SHERI LYNN BIANCHIN, called for

   16   examination, taken pursuant to the provisions of the

   17   Code of Civil Procedure and the Rules of the Supreme

   18   Court of the State of Illinois pertaining to the

   19   taking of depositions for the purpose of discovery,

   20   taken before DINA G. MANCILLAS, a Certified Shorthand

   21   Reporter within and for the State of Illinois,

   22   CSR No. 84-3400 of said State, at Suite 4100, 444

   23   West Lake Street, Chicago, Illinois, on December 3,

   24   2019, at 10:00 a.m.

   25


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0339
                                     (877) 479-2484
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 3 of 39 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33225                           2

    1   PRESENT:

    2

    3         DOGALI LAW GROUP, PA,

    4         (101 East Kennedy Boulevard, Suite 1100,

    5         Tampa, Florida     33602,

    6         813-289-0700), by:

    7         MR. ANDY DOGALI,

    8         adogali@dogalilaw.com,

    9               appeared on behalf of the Plaintiffs;

   10

   11         McDERMOTT, WILL & EMERY,

   12         (The McDermott Building,

   13         500 North Capitol Street, NW,

   14         Washington, D.C.     20001-1531,

   15         202-756-8000), by:

   16         MR. KERRY ALAN SCANLON,

   17         kscanlon@mwe.com,

   18         MS. JULIE H. McCONNELL,

   19         jmcconnell@mwe.com,

   20               appeared on behalf of the Defendant.

   21

   22

   23

   24

   25


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0340
                                     (877) 479-2484
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 4 of 39 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33226                           9

    1                THE VIDEOGRAPHER:       We are now on the

    2         record for the video deposition of Sheri Lynn

    3         Bianchin in the matter of T.P. versus Walt

    4         Disney Parks and Resorts, et al.

    5                       The time is -- sorry --

    6         10:03 a.m.    Will all present please identify

    7         themselves, beginning with the witness?

    8                THE WITNESS:     Sheri Lynn Bianchin.

    9                MR. DOGALI:     Andy Dogali, counsel for

   10         the plaintiffs.

   11                MR. SCANLON:     Kerry Scanlon, counsel

   12         for defendant.

   13                MS. McCONNELL:      Julie McConnell,

   14         counsel for defendant.

   15                THE VIDEOGRAPHER:       Will the court

   16         reporter please swear in the witness?

   17                           (The witness was duly sworn.)

   18                       SHERI LYNN BIANCHIN,

   19   called as a witness herein, having been first duly

   20   sworn, was examined and testified as follows:

   21                            EXAMINATION

   22   BY MR. SCANLON:

   23         Q.      Good morning.

   24         A.      Good morning.

   25         Q.      Would you please state your full name


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0341
                                      (877) 479-2484                                        YVer1f
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 5 of 39 Page ID
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                           #:33227                           10

    1   and home address for the record?

    2         A.      Sheri Lynn Bianchin, 7302 West Lakeside

    3   Court, Frankfort, Illinois, 60423.

    4         Q.      And how long have you live -- have you

    5   lived at that address?

    6         A.      A long time.     Probably about 20 years.

    7         Q.      And who lives there with you at the

    8   present time?

    9         A.      My husband, Brad Bradley, my son,

   10   Victor Bradley, and my daughter, Danielle Bradley.

   11         Q.      And how old is your son and daughter

   12   right now?

   13         A.      My son is 28 years old, and my daughter

   14   is 25 years old.

   15         Q.      And what is her name?

   16         A.      What is her name?

   17         Q.      Right.

   18         A.      Danielle Bradley.

   19         Q.      Is she employed?

   20         A.      Yes.

   21         Q.      Where does she work?

   22         A.      She has two jobs, both part-time.             She

   23   works at Walgreens, and she works at Crack the

   24   Code, which is a escape room.

   25         Q.      A skate room?


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0342
                                     (877) 479-2484                                        YVer1f
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 6 of 39 Page ID
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    1         A.        Escape.

    2         Q.        What is that?

    3         A.        It's entertainment, I guess you could

    4   say, where a person goes with the families or

    5   their work- -- coworkers, and they go in a room.

    6   And they have to solve puzzles to get out of the

    7   room.      So it's -- it's kind of a collaborative

    8   process.

    9         Q.        Okay.     Is it for children or adults or

   10   both?

   11         A.        It's for both, but not little children,

   12   no.

   13         Q.        Okay.     And your son, is he employed at

   14   the present time?

   15         A.        He is.

   16         Q.        Where is he employed?

   17         A.        Jewel Food Store.

   18         Q.        And what does he do there?

   19         A.        He's a bagger, and he also is a

   20   cashier.

   21         Q.        So by "bagger," you mean the person who

   22   stands next to the cashier and helps put food in

   23   the bags?

   24         A.        Correct.

   25         Q.        Does he do both of those?


                                      U.S. LEGAL SUPPORT                         Exhibit 1S
                                                 White Decl. ISO Disney's SJ Motion P.0343
                                        (877) 479-2484                                        YVer1f
    Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 7 of 39 Page ID
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                           #:33229                           12

    1         A.      Yes.

    2         Q.      And what are his normal hours, if you

    3   know?

    4         A.      He is part-time.      He's supposed to be

    5   only getting 12 hours a week.        Sometimes they go

    6   over that, and it's various hours.          He cannot

    7   start before 10:00, I think.        We --

    8         Q.      Why -- why is that?

    9         A.      His doctor -- his doctor -- I'm sorry?

   10         Q.      Why is it that he can't start before

   11   10?

   12         A.      He has trouble with sleeping.           So he

   13   has trouble getting up.       He has trouble going to

   14   sleep.     Consequently, he has trouble getting up.

   15   So he can't start early.

   16         Q.      Okay.   And do you know where the

   17   12-hour-per-week number came from?          Was it from

   18   the employer or from -- from him?

   19         A.      That's the minimum number of hours that

   20   we were told Jewel Food Store would allow an

   21   employee to work, the minimum number of hours.

   22         Q.      And does he typically work Monday

   23   through Friday, or what are his -- what are the

   24   days that he works?

   25         A.      Various days.


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0344
                                     (877) 479-2484                                        YVer1f
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                           #:33230                           13

    1         Q.      Approximately how long per day?

    2         A.      He works between four hours to eight

    3   hours.

    4         Q.      On a day?

    5         A.      On a day.

    6         Q.      So he only works a couple days a week,

    7   is that right?

    8         A.      It depends.

    9         Q.      Well, if he can only work 12 hours per

   10   week, and he works four to eight hours, he usually

   11   only works a couple days a week, right?

   12         A.      They typically give him four-hour

   13   shifts because that's his optimum -- with a break,

   14   that's -- that's his optimum time frame he can

   15   work.

   16         Q.      So that would be three days a week on

   17   average, right, if he's working --

   18         A.      It depends.

   19         Q.      -- four days?

   20         A.      It depends.

   21         Q.      Well, if he's working four days -- four

   22   hours -- I'm sorry -- a day, that would be three

   23   days a week, right?

   24         A.      Correct, but, remember, I said that

   25   that is what the minimum is, and they've been


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0345
                                      (877) 479-2484                                        YVer1f
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                           #:33231                           15

    1   work hours Friday at noon supposedly.            Sometimes

    2   it's later.

    3                  And he'll then find out his hours for

    4   the next week.

    5         Q.       And how long has he been working for

    6   Jewel Foods?

    7         A.       About two years.

    8         Q.       And during that time, would you say

    9   that his average time per week has -- has been

   10   somewhere between 12 and 20 hours per week?

   11         A.       I don't know what his average is, but

   12   it's --

   13         Q.       Somewhere in that range?

   14         A.       It's in that range.

   15         Q.       Okay.   And you mentioned that he takes

   16   breaks, is that right?

   17         A.       Correct.

   18         Q.       How often is he allowed to take a

   19   break, if you know?

   20         A.       I don't know.

   21         Q.       You don't know how long the breaks are?

   22         A.       I don't.

   23         Q.       How do you know he takes them?

   24         A.       He tells me.

   25         Q.       What does he tell you about the breaks?


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0346
                                     (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 10 of 39 Page ID
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                           #:33232                           67

    1   know, considered our area college -- community

    2   college.

    3         Q.        Right.     Okay.   Did she ever graduate?

    4         A.        Oh, yes.

    5         Q.        And did Victor graduate from

    6   Valparaiso?

    7         A.        Yes.

    8         Q.        With a -- a BS degree?

    9         A.        Uh-huh.

   10         Q.        Do you know what his grade point

   11   average was?

   12         A.        I don't.

   13         Q.        Was it pretty good?

   14         A.        It was good.

   15         Q.        Do you know if he graduated with

   16   honors?

   17         A.        I think he did, but not the highest

   18   honors.

   19         Q.        You mean he wasn't a summa cum laude?

   20   Is that what you mean?

   21         A.        That's what I mean.

   22         Q.        And do you know what -- when he was at

   23   Valparaiso -- and I'm talking about the academic

   24   year.      I know you said he came home during the

   25   summer.


                                      U.S. LEGAL SUPPORT                         Exhibit 1S
                                                 White Decl. ISO Disney's SJ Motion P.0347
                                        (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 11 of 39 Page ID
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                           #:33233                           69

    1         A.      Well, he picked the major.

    2         Q.      Okay.    What major was it?

    3         A.      Meteorology.

    4         Q.      Okay.    And then when he chose that

    5   major, then he took courses that were related to

    6   meteorology, right?

    7         A.      Right.

    8         Q.      I've seen references in the records to

    9   the -- he was interested in storm chasing, and

   10   he --

   11         A.      Yes.

   12         Q.      -- did some of that --

   13         A.      Yes.

   14         Q.      -- at times?    And I don't have a lot of

   15   knowledge about -- is that where they sort of

   16   track hurricanes or -- or -- or -- or -- or

   17   tornados?

   18         A.      Tornados mostly and other types of

   19   storms.

   20         Q.      And how do they go about tracking if

   21   it's a tornado?

   22         A.      They look at the models, from what I

   23   understand.    There's various models, and then they

   24   look at where they think, you know, based on

   25   geography, the storm might become an issue or hit


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0348
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    1   that a single room, or did he have roommates?

    2         A.       So his first semester -- I'm not sure

    3   if it's first semester or first year -- he had a

    4   roommate.    And then from then on, it -- I think it

    5   was only one semester -- he did not have a

    6   roommate.    It did not work out for him too well.

    7         Q.       Do you remember the roommate's name?

    8         A.       No.

    9         Q.       So the second year, when he was in the

   10   dorm, he didn't have a roommate?

   11         A.       Correct.   He was in a single.         That was

   12   part of his accommodations.

   13         Q.       Did he get an accommodation of more

   14   test -- more time to take tests?

   15         A.       Yes.

   16         Q.       How much more time did he get?

   17         A.       I don't remember.     I -- I want to say

   18   either time-and-a-half or double time.

   19         Q.       Were his tests usually in class or were

   20   they take-home exams, do you remember?

   21         A.       He would -- from what I understand, he

   22   would -- they were in class, but he would go to a

   23   quiet place.     That was part of his accommodation.

   24   To take the test, he could go to a quiet place,

   25   and that was usually administered through the


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0349
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    1   disability office personnel.

    2         Q.      So if students were given two hours to

    3   take an exam, he would be given 3-1/2 or 4 hours?

    4         A.      Something like that, yeah.

    5         Q.      Okay.    And did he usually take

    6   advantage of that time, or did he call and say, "I

    7   didn't need it.       I finished it in the regular

    8   amount of time"?

    9         A.      Both.    He did both.

   10         Q.      He did both?

   11         A.      Yeah.

   12         Q.      Sometimes he would use all the time,

   13   and sometimes he would finish --

   14         A.      Correct.

   15         Q.      -- in the normal time?

   16         A.      From what I understand, yes.

   17         Q.      Do you have any idea how long the exams

   18   were?

   19         A.      I do not.

   20         Q.      No idea?

   21         A.      No, I don't.

   22         Q.      And when he was taking those exams, he

   23   was by himself, or he didn't have any assistants

   24   or tutors or anything like that, right?

   25         A.      Right.     I mean, it was his knowledge


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0350
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                           #:33236                           85

    1   games?

    2          A.     Video games are a real problem for us.

    3          Q.     He plays a lot of video games, doesn't

    4   he?

    5          A.     Yes, he does.

    6          Q.     Until late at night?

    7          A.     All the time.

    8          Q.     Right.   And sometimes into the early

    9   morning, right?

   10          A.     Right.

   11          Q.     Until 2 or 3 a.m.?

   12          A.     Sometimes.

   13          Q.     Which is part of the reason it's hard

   14   for him to get up in the morning, right?

   15          A.     Part of it.

   16          Q.     What's the other part?

   17          A.     He just can't shut his mind down.

   18          Q.     Right.   But if you don't go to sleep

   19   until the middle of the night, it's going to be

   20   hard to get up in the morning, right?

   21          A.     That's correct.

   22          Q.     Is that something that you're having an

   23   ABA therapist look at now, that issue?

   24          A.     We don't have an ABA therapist right

   25   now.


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0351
                                      (877) 479-2484                                        YVer1f
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    1   game.

    2                  So they thought that was -- that was a

    3   good way for him to manage time better.

    4         Q.       But you said when he was in public.

    5   What -- what do you mean by being in public?              I --

    6         A.       Anything where he's around people.

    7         Q.       Okay.   But other than being in his

    8   college dorm room, where else would he be that

    9   would be around people that you -- that it was a

   10   good idea for him to be using video games?              You're

   11   not talking about that he would be walking down

   12   the street --

   13         A.       I am.

   14         Q.       -- playing video games?

   15         A.       Yes.

   16         Q.       That's what you -- that someone

   17   recommended?

   18         A.       I don't think they thought it would get

   19   to that far, but they said, when he had to wait or

   20   when he had to go to the doctor's office, anything

   21   where a typical person has to wait and has time

   22   that is not well planned, they thought, take his

   23   mind off it by giving him another -- you know,

   24   something to focus on.

   25                  They called it multitasking.


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    1   successful in the most part except in terms of

    2   transition planning."

    3                   Does that refer to the high schools he

    4   went to in that paragraph?

    5         A.        Krejci and Lincoln-Way are the two high

    6   schools he went to.

    7         Q.        Right.

    8         A.        Correct.

    9         Q.        So this is talking about his experience

   10   and progress at those two high schools, correct?

   11         A.        Correct.

   12         Q.        And it says -- a couple sentences

   13   later, it says, "With respect to his current

   14   academic functioning, Victor is an honor roll

   15   student and a member of the National Honor

   16   Society."

   17                   Is that accurate, as far as you know?

   18         A.        Yes.

   19         Q.        And was he in that fifth year of high

   20   school at this point, or was it still the fourth

   21   year?      You discussed the fifth year when he had

   22   the depression.

   23                   Was this that year or the year before,

   24   if you know?

   25         A.        I don't know.


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0353
                                     (877) 479-2484                                        YVer1f
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    1   that one of his habits was that he would sometimes

    2   lie on the ground when he was tired, right?

    3         A.      Correct.

    4         Q.      And there are quite a few references in

    5   these medical reports to his lying on the ground

    6   or lying on a bench, correct?

    7         A.      Right.

    8         Q.      And that's just something that he does,

    9   right?

   10         A.      Not always.

   11         Q.      Well, not always, but he has done that

   12   frequently, right?

   13         A.      I'm having trouble with the -- the word

   14   "frequently."     He has done it.       It's a maladaptive

   15   behavior.     It's not appropriate for him to do it

   16   in many circumstances.       I'm not with him all the

   17   time, but when I notice he's doing it, I bring it

   18   to his attention and I say, "What's going on?                Why

   19   are you laying down?"       Try to get him to

   20   understand.

   21         Q.      But the -- the fact is these medical

   22   reports refer to on several occasions the fact

   23   that he does this, right?

   24         A.      Yes.

   25         Q.      Okay.


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0354
                                      (877) 479-2484                                        YVer1f
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    1   temperament where gets bored easily and then

    2   complains endlessly about it."

    3                 Do you see that?

    4         A.      I see that.

    5         Q.      Do you agree with that statement?

    6         A.      Partially.

    7         Q.      Do you agree that -- that he fatigues

    8   easily when he's performing tasks, physical tasks?

    9         A.      Yes.

   10         Q.      And what is the solution to that?              Is

   11   he -- is it to request breaks?          You mentioned that

   12   with regard to his job current -- the job he has

   13   currently?

   14         A.      Partially, yes.       Partially hopefully

   15   build up stamina.

   16         Q.      Okay.    But he benefits from taking

   17   breaks, right?       That's why you wanted them at

   18   the -- at the grocery store?

   19         A.      Oh, yes.

   20         Q.      The reference to "complains endlessly

   21   about it," is that something you've seen happen?

   22         A.      Yes.

   23         Q.      And what do you try to do to counteract

   24   that as a -- as a parent?

   25         A.      Well, it depends what the situation is,


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0355
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    1   about apparently some feedback from a program that

    2   he was volunteering for.

    3                 Do you see that?

    4         A.      I see "Community Volunteer Work Site

    5   Observation."

    6         Q.      Uh-huh.     Is that something he

    7   participated in as a community volunteer?

    8         A.      Supposedly through Lincoln-Way High

    9   School.

   10         Q.      Okay.     And it says down -- if you --

   11   about two-thirds of the way down this page, the

   12   paragraph starts, "Victor was able to follow the

   13   verbal directions of the supervisor and ask

   14   questions."

   15                 Do you see that?

   16         A.      I see that.

   17         Q.      It says, "He appeared to enjoy the work

   18   and his facial expressions were consistent with

   19   conversation and environment."

   20                 Do you see that?

   21         A.      Yes.

   22         Q.      And then it says, the last sentence,

   23   "He demonstrated an awareness of time both with

   24   and without cues to look at the clock."

   25                 Do you see that?


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0356
                                      (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 20 of 39 Page ID
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                           #:33242                          175

    1         A.      Yes.

    2         Q.      And on the next page, under

    3   "Strengths," the first string is -- strength is,

    4   "Oriented to time, place, and person."

    5                 Do you see that?

    6         A.      Yes.

    7         Q.      And under "Limitations," it lists the

    8   limitations here in terms of occupational

    9   assessment.    That's what this was.

   10                 And there's nothing about an inability

   11   to wait referenced under "Limitations," is there?

   12         A.      Those words are not used.

   13         Q.      Would you look at Page 14?          The

   14   next-to-last paragraph in the middle.

   15                 It says, "It is recommended that Victor

   16   have a behavior analysis in community settings

   17   conducted" -- I think it meant to say "conducted

   18   by an individual qualified to do so."

   19                 Do you see that?

   20         A.      The last paragraph before "Money

   21   Manage-" --

   22         Q.      The next-to-the-last paragraph before

   23   "Money Management."

   24         A.      Okay.    "It is recommended" -- okay.

   25   "Analysis."    Yeah.


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0357
                                     (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 21 of 39 Page ID
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                           #:33243                          201

    1                              (WHEREUPON, there was a short

    2                              cell phone interruption.)

    3   BY THE WITNESS:

    4         A.        Right.

    5                MR. SCANLON:       That's not a judge's

    6         number.     It's Maryland.       So I'm not answer

    7         it.

    8   BY MR. SCANLON:

    9         Q.        Correct?

   10         A.        Correct.

   11         Q.        And that's what we talked about earlier

   12   in your deposition today, that you felt it was

   13   beneficial to him to take breaks, which is why you

   14   wanted him to have more breaks at the Jewel

   15   grocery stores, right?

   16         A.        Yes.

   17         Q.        Okay.    Can I have that back?

   18         A.        Oh, yeah.

   19                              (Document tendered.)

   20                              (Bianchin Deposition Exhibit 9

   21                              was marked for identification.)

   22                              (Document tendered.)

   23                MR. SCANLON:       This is Exhibit?

   24                THE COURT REPORTER:          9.

   25                MR. SCANLON:       9.


                                      U.S. LEGAL SUPPORT                         Exhibit 1S
                                                 White Decl. ISO Disney's SJ Motion P.0358
                                        (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 22 of 39 Page ID
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                           #:33244                          231

    1   responses to this, correct?

    2                MR. DOGALI:     Object to the form of the

    3         question.

    4   BY THE WITNESS:

    5         A.      It says here, "Disneyland rides, Tower

    6   of Terror, Space Mountain, Cars Rides."

    7   BY MR. SCANLON:

    8         Q.      No.     I'm going back to the document

    9   requests.

   10         A.      I think I was referring to this

   11   [indicating].

   12         Q.      To what?

   13         A.      To this answer here [indicating] on --

   14         Q.      You're looking at the interrogatory

   15   answer?

   16         A.      Interrogatory answers, Page 14 and 15.

   17   That's what I was referring to.          We did the best

   18   effort that we could to try to piece it together

   19   of which rides we went on, and if Victor was on

   20   the ride, we would have been using the disability

   21   pass.

   22         Q.      Okay.    So you're saying that every ride

   23   you went on at -- at Disneyland or California

   24   Adventure in 2014 was -- you used a DAS card for?

   25         A.      With the caveat if there was a short


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0359
                                      (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 23 of 39 Page ID
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                           #:33245                          232

    1   wait time, we might have jumped on a ride.

    2         Q.      Okay.     But every other one, you

    3   actually used the DAS card on both days of your

    4   visits?

    5         A.      We tried it, yes.

    6         Q.      No.     My question is, did you use it?

    7   Did you use the DAS card?

    8         A.      Yes.

    9         Q.      Meaning, you got a return time.             You

   10   went to the -- at the return time and got on

   11   through the FastPass line?

   12         A.      Yes.

   13         Q.      Okay.     So every ride that you went on

   14   in those two days?

   15         A.      No.

   16         Q.      What were the rides you didn't use it

   17   on?

   18         A.      There was a caveat I just mentioned.

   19   If there was a short --

   20         Q.      Okay.

   21         A.      -- wait time.

   22         Q.      Right.

   23         A.      And then I think the second day in

   24   Disneyland, we were given two or three of those

   25   return or fa- -- we called them fast passes, but I


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0360
                                      (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 24 of 39 Page ID
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                           #:33246                          233

    1   don't know if it was a return --

    2         Q.      Readmission passes?

    3         A.      Readmission passes.       I think --

    4         Q.      Okay.

    5         A.      -- we got those the second day when I

    6   went back and tried to explain again why it wasn't

    7   working for us.

    8         Q.      Okay.

    9         A.      And we --

   10         Q.      You said you got three of those?

   11         A.      I think we said we have three of those.

   12         Q.      Okay.   So my question, though, goes

   13   back to my original document request.

   14                 Which rides did you use the DAS card

   15   for and which rides did you use the readmission

   16   passes for?

   17         A.      I don't remember.

   18         Q.      Okay.   And is this list of rides under

   19   Disneyland on Page 15 of your interrogatory

   20   answer -- it only mentions three rides.

   21                 Are those all the rides you went on in

   22   two days, or are they all the rides you went on in

   23   one day, or what does that mean?

   24         A.      We didn't go on very many rides, but I

   25   don't remember.


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0361
                                     (877) 479-2484                                        YVer1f
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                           #:33247                          235

    1         A.      Those three for sure.

    2         Q.      Anything else?

    3         A.      Don't recall.

    4         Q.      Okay.    And the Disney World list of

    5   rides here is -- that's from a 2011 trip?

    6         A.      Apparently, yes.

    7         Q.      So -- so this thing at the bottom of

    8   Page 15 where you list six or seven rides, that

    9   had nothing to do with the trip in 2014, did it?

   10         A.      Right.     Correct.

   11         Q.      So the only rides you can recall from

   12   the 2014 day trip, which was a two-day trip, that

   13   you went on were Tower of Terror, Space Mountain

   14   and Cars Ride, and you don't know whether you used

   15   a DAS or whether you used a readmission pass or --

   16   with the exception that you might have gone on

   17   some shorter wait rides, correct?

   18         A.      Correct.

   19         Q.      Okay.    So this interrogatory answer

   20   does not specify what the document request asks

   21   for, does it, which was the rides or attractions

   22   visited using your DAS card?

   23         A.      I don't keep track of it.

   24         Q.      Okay.    But it doesn't answer that

   25   question, does it?       Your response does not answer


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0362
                                      (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 26 of 39 Page ID
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                           #:33248                          274

    1   the disability -- the people --

    2         Q.      Ma'am, I'm just asking you the question

    3   right now.

    4         A.      Right.

    5         Q.      I'm not asking you for an explanation.

    6         A.      Okay.

    7         Q.      I'm just saying, you did not try using

    8   DAS with the FastPass system, even though it's

    9   highly encouraged in 2014, did you?

   10         A.      I don't know.

   11         Q.      You don't know?      You just said you

   12   didn't use it because you didn't know about it?

   13         A.      I just said that, but I don't know

   14   because my daughter might have.         I don't know if

   15   she did or didn't.

   16         Q.      Well, apart from your daughter, you

   17   didn't use it for your son, right?

   18         A.      Well, she would have been in there to

   19   help him.

   20         Q.      But are you saying that your daughter

   21   may have taken your son on -- on a FastPass ride

   22   that she got a FastPass?

   23         A.      She may have.

   24         Q.      Okay.    But -- but as far as you're

   25   concerned, you don't know that he ever used


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0363
                                     (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 27 of 39 Page ID
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                           #:33249                          275

    1   FastPass with DAS, do you?

    2         A.      Not in 2014.

    3         Q.      Right.     And the records indicate that

    4   you never used FastPass in that year because we

    5   have records of when you used FastPass, and there

    6   are no records that you used it --

    7         A.      Okay.

    8         Q.      -- under your name or any other family

    9   name that you have.

   10                 MR. DOGALI:    Objection.      There's no --

   11   BY MR. SCANLON:

   12         Q.      So --

   13                 MR. DOGALI:    -- question pending.

   14   BY MR. SCANLON:

   15         Q.      So -- so you don't really know whether

   16   DAS would work for your son or not if you use it

   17   with FastPass, do you?

   18         A.      It would be better, but it may not

   19   still work.

   20         Q.      Right, but you don't know, correct?

   21         A.      Correct.

   22         Q.      Why do you think Disney puts this on

   23   here in such prominent print about using it

   24   whenever possible for people with cue-related

   25   disabilities, which is what you claim your son


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0364
                                      (877) 479-2484                                        YVer1f
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                           #:33250                          278

    1                 MR. DOGALI:    Asked and answered, and

    2         the answer was, "I don't know."

    3   BY MR. SCANLON:

    4         Q.      Go ahead.

    5         A.      I don't know.

    6         Q.      And let's talk about DAS by itself,

    7   even without FastPass.

    8                 Given the information on this

    9   Exhibit 16, do you see the 29 rides there that

   10   have wait times under -- average wait times under

   11   15 minutes?

   12         A.      I do.

   13         Q.      And do you see that 34 had wait times

   14   of 20 minutes or less, posted wait times?

   15         A.      The document speaks for itself.

   16         Q.      Okay.   So your son told one of the

   17   doctors that he could -- he could stand up for 20

   18   minutes, right?

   19         A.      At a time, yes.

   20         Q.      Okay.   So he could have stood in the

   21   standby line, as long as he took breaks in between

   22   rides, right?     If it was a ride --

   23         A.      It would depend if he would want to go

   24   on that.

   25         Q.      What?


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0365
                                      (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 29 of 39 Page ID
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                           #:33251                          279

    1         A.      It would depend on if he wanted to go

    2   on a ride.

    3         Q.      Sure.    If he wanted to go on a ride and

    4   it was 20 minutes --

    5         A.      He could probably do that.

    6         Q.      Right.    And that -- that would mean 34

    7   of the 57 rides, he could go on without any

    8   accommodation?

    9         A.      If he wanted to.

   10         Q.      Right.    Right.   And you don't know that

   11   he didn't want to go on the 34 rides here that had

   12   20 minutes or less wait time, do you?

   13         A.      I would probably guess there's some he

   14   would not want to be going on, yes.

   15         Q.      Sure.    But there's some that he would

   16   want to go on, right?

   17         A.      Some he would want to go on, right.

   18         Q.      Right.    And if he's only going to be

   19   there for one day or two days, he's not going to

   20   go on any -- every ride anyway, right?

   21         A.      Oh, correct.

   22         Q.      Okay.    So he would have had plenty of

   23   opportunities in a short two-day visit to go on a

   24   lot of these rides that had short wait times of 20

   25   minutes or less, correct?


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0366
                                     (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 30 of 39 Page ID
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                           #:33252                          309

    1                  Wouldn't you agree that that's kind of

    2   like, no one could do any better than that, right?

    3         A.       I wouldn't like it, but he did.

    4         Q.       What?

    5         A.       I wouldn't like it, but he did.

    6         Q.       What do you mean you wouldn't like it?

    7         A.       I don't like to go on rides.           So --

    8         Q.       Well, right.    But if you liked going on

    9   rides, you can't do any better than going to the

   10   front of the line as many times as you want with

   11   no wait whatsoever, right?        So, of course, he

   12   would prefer that --

   13         A.       There was some wait, but, yeah, I -- I

   14   understand what you're saying.          Yes.

   15         Q.       Of course he would prefer that,

   16   wouldn't he?

   17         A.       Of course he would.

   18         Q.       So he wouldn't enjoy it quite as much

   19   as he did then if he couldn't do that, would he?

   20         A.       No.

   21         Q.       Okay.    What's the next picture?          "Cars

   22   Land"?

   23         A.       This was in 2014.      So they're kind of

   24   mixed up.

   25         Q.       Right.    I -- I don't know what order


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0367
                                      (877) 479-2484                                        YVer1f
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                           #:33253                          315

    1         A.       He's starting to.

    2         Q.       And -- but -- but lying on a floor like

    3   that or lying on a bench was not anything unusual

    4   for him, was it?

    5         A.       It happens sometimes.

    6         Q.       Right, but it happens a lot of times

    7   having nothing to do with Disney, right?

    8         A.       Correct.

    9         Q.       Okay.    And so you don't know what

   10   caused -- what may have caused him to lie on the

   11   ground like this, do you?

   12         A.       Well, he told me he was very frustrated

   13   with having to wait.

   14         Q.       This is the -- this is the son who you

   15   said can't communicate very well verbally, right?

   16         A.       Right.

   17         Q.       Right.     And do you think that your

   18   standing in line to get a -- a special pass is

   19   some form of discrimination, that it might --

   20   might have taken a few minutes to get that pass?

   21                  Do you think that was discrimination

   22   against him?

   23         A.       No.

   24         Q.       Okay.    Do you think any other children

   25   ever get frustrated at Disneyland?


                                     U.S. LEGAL SUPPORT                         Exhibit 1S
                                                White Decl. ISO Disney's SJ Motion P.0368
                                       (877) 479-2484                                        YVer1f
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                           #:33254                          320

    1         A.      Sometimes.

    2         Q.      Okay.   So that would be even more

    3   evidence that if you go to a crowded place that

    4   has lots of people and lots of commotion like a

    5   theme park, it would be a good idea for him to

    6   take breaks, right?

    7         A.      Yes.

    8         Q.      Okay.   The next exhibit I'd like to

    9   show you is 24.

   10                          (Bianchin Deposition Exhibit 24

   11                          was marked for identification.)

   12                          (Document tendered.)

   13   BY MR. SCANLON:

   14         Q.      Have you seen this document before?

   15         A.      No.

   16         Q.      No?

   17         A.      No.

   18         Q.      You know some of the people that have

   19   signed it, right?

   20         A.      I do.

   21         Q.      And under the second box, it says,

   22   "Patient reports substantial use of the internet,

   23   which could be impacting on sleep and schoolwork."

   24                 Do you see that?

   25         A.      "Patient" -- "Objective"?


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0369
                                     (877) 479-2484                                        YVer1f
   Case 2:15-cv-05346-CJC-E Document 469-41 Filed 12/10/20 Page 33 of 39 Page ID
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                           #:33255                          331

    1   you're recording from the terms and condition

    2   shown on the DAS card.

    3                 Do you see that?      Do you see the -- the

    4   part that's quoted in italics?

    5         A.      Yes.

    6         Q.      And one of the things that you quote in

    7   your complaint from the DAS terms and conditions

    8   is, "When utilizing this service" -- referring to

    9   DAS -- "it is possible to experience waits greater

   10   than the posted wait time," correct?

   11         A.      That's what it says.

   12         Q.      That's what it says?

   13         A.      That's what it says.

   14         Q.      Right.    And so -- so part of your

   15   agreement with Disney, if you will, included a

   16   provision that said, "We're not guaranteeing any

   17   particular length of time that you're going to

   18   have to wait using this pass," right?

   19                 Would you agree with that?

   20         A.      It seems like it, yes.

   21         Q.      Okay.    And that was part of your

   22   agreement with Disney, right, the terms and

   23   conditions of the DAS card?

   24         A.      Yes.

   25         Q.      Okay.    And if you look at


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0370
                                     (877) 479-2484                                        YVer1f
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                           #:33256                          353

    1   experience.

    2         Q.      Can you answer my question?           I asked

    3   you a question that is much more specific than

    4   that.

    5         A.      I guess --

    6         Q.      I can read it back.

    7         A.      -- I missed your question.

    8         Q.      Okay.    The question was, do you allege

    9   in this case that there was any specific

   10   contractual requirement that Disney provide you or

   11   your son with a specific level of enjoyment in the

   12   parks?

   13         A.      I don't know.

   14         Q.      You don't know?

   15         A.      I don't know.

   16         Q.      You don't -- you couldn't identify

   17   anything that would do that, can you?

   18         A.      I don't know if I allege that.

   19                 MR. DOGALI:    Objection; ambiguous.

   20   BY MR. SCANLON:

   21         Q.      No.     The question is, is that your

   22   claim in this case?

   23                 MR. DOGALI:    And the answer was, "I

   24         don't know."

   25


                                    U.S. LEGAL SUPPORT                         Exhibit 1S
                                               White Decl. ISO Disney's SJ Motion P.0371
                                      (877) 479-2484                                        YVer1f
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                           #:33257                          354

    1   BY THE WITNESS:

    2         A.      No.

    3   BY MR. SCANLON:

    4         Q.      And can you identify, based on your

    5   knowledge of the terms and conditions of the park

    6   admission pass or anything like that -- can you

    7   identify any term that would -- that would call

    8   for that kind of agreement, that you were being

    9   provided with a specific level of enjoyment?

   10         A.      Not off the top of my head.

   11         Q.      Okay.   And you took contracts in law

   12   school, right?

   13         A.      Yes.

   14         Q.      So you know what a contract is?

   15         A.      Yes.

   16         Q.      Okay.   And are you familiar with the

   17   general principle that you don't read into a

   18   contract terms that are not there?

   19                 Are you familiar with that general

   20   principle?

   21         A.      It depends on what theory of contracts

   22   you use.

   23         Q.      Are you familiar with that general

   24   legal principle?

   25         A.      That's one of the legal principles,


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0372
                                     (877) 479-2484                                        YVer1f
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                           #:33258                          371

    1   take your kids with you or not?

    2         A.      What determines -- if -- if it's

    3   something that would be something of interest to

    4   them would be a factor, whether -- what else?               How

    5   we think it would go as a family.

    6                 Is it a good, you know, kind of family

    7   vacation?

    8         Q.      So you recently went to Paris via

    9   London with your family?

   10         A.      Yes.

   11         Q.      From Chicago?

   12         A.      Yes.

   13         Q.      And you took -- you flew to London and

   14   took a train to Paris?

   15         A.      Yes.

   16         Q.      And then you flew home directly from

   17   Paris to Chicago?

   18         A.      Right.

   19         Q.      And how long was that flight?

   20         A.      I don't remember.      Six hours, eight

   21   hours.     I don't know.

   22         Q.      And do you visit family in -- outside

   23   of Illinois; for example, in Ohio and other states

   24   from time to time?

   25         A.      Sometimes.


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                                              White Decl. ISO Disney's SJ Motion P.0373
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    1         Q.      And you've flown to Las Vegas?

    2         A.      Yes.

    3         Q.      With your kids?

    4         A.      Once.

    5         Q.      And you mentioned Carbondale.

    6                 Do you -- did you used to drive with

    7   your son to Carbondale and back?

    8         A.      We have done that.

    9         Q.      And that's 4-1/2 hours each way, right,

   10   from Frankfort?

   11         A.      It sounds about right.

   12         Q.      Okay.    What kind of a car do you have?

   13         A.      Minivan.

   14                 MR. SCANLON:     Okay.     Other than waiting

   15         to get a ruling from the judge about the

   16         questions I wanted to ask you and that

   17         interrogatory answer, I'm reserving my right

   18         to inquire about that.

   19                         Depending on what the Court says,

   20         I have no more further questions at this

   21         time.

   22                 MR. DOGALI:     I have no questions.

   23                 MR. SCANLON:     Thank you.

   24                 THE VIDEOGRAPHER:       We are going off the

   25         record at 7:13 p.m.


                                     U.S. LEGAL SUPPORT                         Exhibit 1S
                                                White Decl. ISO Disney's SJ Motion P.0374
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    1                           CERTIFICATE

    2                                 OF

    3                        SHORTHAND REPORTER

    4

    5                  I, DINA G. MANCILLAS, a Certified

    6   Shorthand Reporter of the State of Illinois,

    7   CSR License No. 084-003400, do hereby certify:

    8                  That previous to the commencement of the

    9   examination of the aforesaid witness, the witness was

   10   duly sworn and/or duly affirmed by me to testify the

   11   whole truth concerning matters herein;

   12                  That the foregoing deposition transcript

   13   was stenographically reported by me and was

   14   thereafter reduced to typewriting under my personal

   15   direction and constitutes a true and accurate record

   16   of the testimony given and the proceedings had at the

   17   aforesaid deposition;

   18                  That the said deposition was taken before

   19   me at the time and place specified;

   20                  That I am not a relative or employee or

   21   attorney or counsel for any of the parties herein,

   22   nor a relative or employee of such attorney or

   23   counsel for any of the parties hereto, nor am I

   24   interested directly or indirectly in the outcome of

   25   this action.


                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0375
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                           #:33261                          376

    1                 IN WITNESS WHEREOF, I do hereunto set my

    2   hand at Chicago, Illinois, this 5th of December,

    3   2019.

    4

    5

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    8              _____________________________________

    9              DINA G. MANCILLAS, CSR, RPR, CRR, CLR

   10              CSR LICENSE NO. 084-003400

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                                   U.S. LEGAL SUPPORT                         Exhibit 1S
                                              White Decl. ISO Disney's SJ Motion P.0376
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